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                                                       THE HONORABLE BARBARA J. ROTHSTEIN
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 5                              UNITED STATES DISTRICT COURT
 6                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 7

 8   KENNETH WRIGHT, on his own behalf and
     on behalf of other similarly situated persons,      Case No. 2:14−cv−00421−BJR
 9
                                          Plaintiff,
10                                                       SUPPLEMENTAL DECLARATION OF
                                                         DONALD W. HEYRICH IN SUPPORT OF
            v.
11                                                       PLAINTIFF’S MOTION FOR APPROVAL
     LYFT, INC., a Delaware corporation,                 OF SERVICE AWARD AND
12
                                                         ATTORNEYS’ FEES AND COSTS
13          Defendant.

14

15          I, Donald W. Heyrich, declare as follows:
            1. Attached as Exhibit A is an itemized list of the out-of-pocket case expenses incurred
16
     in this matter in the total amount of $20,764.06. This exhibit was inadvertently omitted from
17
     my prior declaration, Docket No. 94.
18
            I declare under penalty of perjury that the foregoing is true and correct.
19
            Executed on February 22, 2019, in Chicago, Illinois.
20

21
                                   /s/ Donald W. Heyrich, WSBA #23091
22                                 Donald W. Heyrich, WSBA #23091
                                   HKM ATTORNEYS
23                                 600 Stewart Street, Suite 901
                                   Seattle, WA 98101
24                                 Tel: (206) 838-2504
                                   Fax: (206) 260-3055
25                                 Email: dheyrich@hkm.com

26

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      DECLARATION OF DONALD W. HEYRICH                                           HKM ATTORNEYS
      (Case No. 2:14-cv-00421-BJR) - 1                                      600 Stewart Street, Suite 901
                                                                             Seattle, Washington 98101
                                                                                   (206) 838-2504
               Case 2:14-cv-00421-BJR Document 98 Filed 05/22/19 Page 2 of 4



                                     DECLARATION OF SERVICE
 1
            I certify that on this date I filed the foregoing document via the ECF system which will
 2
     serve a copy on the counsel listed below:
 3

 4                          Archis A. Parasharami
                            MAYER BROWN LLP
 5                          1999 K Street N.W.
                            Washington, D.C. 20016
 6                          Tel: (202) 263-3000
                            Fax: (202) 263-3300
 7                          Email: aparasharami@mayerbrown.com
 8
                            BYRNES KELLER CROMWELL LLP
 9                          Bradley S. Keller, WSBA #10665
                            Keith D. Petrak, WSBA #19159
10
                            1000 Second Avenue, 38th Floor
11                          Seattle, WA 98104
                            Telephone: (206) 622-2000
12                          Facsimile: (206) 622-2522
                            Email: bkeller@byrneskeller.com
13                                  cmam@byrneskeller.com
14

15                  Dated: February 22, 2019.
16

17                                                        /s/ Donald W. Heyrich
                                                          Donald W. Heyrich, WSBA #23091
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      DECLARATION OF DONALD W. HEYRICH                                           HKM ATTORNEYS
      (Case No. 2:14-cv-00421-BJR) - 2                                      600 Stewart Street, Suite 901
                                                                             Seattle, Washington 98101
                                                                                   (206) 838-2504
               Case 2:14-cv-00421-BJR Document 98 Filed 05/22/19 Page 3 of 4



                                                EXHIBIT A
                              Wright et al. v. Lyft, Inc. Case No. 2:14‐cv‐00421‐BJR
                                  Plaintiff's Out‐of‐Pocket Litigation Expenses

    Date                        Memo/Description                     Amount                  Vendor
06/24/2014   Meeting with defense counsel                            $13.03      BERNARDS RESTAURANT
07/03/2014   Meeting with A Kirby regarding motion to dismiss        $51.98      Roxy's Deli
08/11/2014   Mediation fee                                          $2,425.00    JAMS-LA

10/23/2014   Team meeting with potential settlement administrator      $97.03    Millers Guild Restaurant
12/29/2014   Courthouse parking                                         $4.12    SEATTLE 684-PARK
01/15/2015   Research TCPA settlements                                 $24.00    Superior Court of Alameda
07/23/2015   Mediation fee                                           $2,425.00   JAMS-LA
10/06/2015   Mediation parking                                         $26.00    80474 - Union Square
10/20/2015   Meeting with defense counsel                              $16.01    Bernards Restaurant(V)
4/30/2017    LexisNexis Charges                                         $6.00    Masters Law Group PLLC
6/15/2017    Document Retrieval Cost                                   $47.10    Masters Law Group PLLC
6/20/2017    Transcription Fee                                         $27.90    Masters Law Group PLLC
6/28/2017    LexisNexis Charges                                         $6.40    Masters Law Group PLLC
6/30/2017    LexisNexis Charges                                        $91.85    Masters Law Group PLLC
7/31/2017    LexisNexis Charges                                        $16.01    Masters Law Group PLLC
08/01/2017   Westlaw charges                                            $7.57    Thomson Reuters
08/03/2017   Printing brief of respondent on certified questions        $8.62    Washington State Supreme Court
10/01/2017   WestLaw charges                                           $14.48    Thomson Reuters
10/24/2017   Mediation travel                                           $1.24    Expedia
10/25/2017   Mediation Fees                                         $10,000.00   Phillips ADR Enterprises, Inc.
10/25/2017   Mediation travel                                         $275.98    Priceline*Hotel Rooms
10/25/2017   Mediation travel                                          $64.20    United Airlines
10/25/2017   Mediation travel                                          $64.00    Spirit Airlines
10/25/2017   Mediation travel                                          $97.19    Spirit Airlines
10/30/2017   Mediation travel                                          $43.73    Uber
10/31/2017   LexisNexis Charges                                        $53.57    Masters Law Group PLLC
10/31/2017   Meals - mediation travel                                  $44.71    The Hub
10/31/2017   Mediation travel                                          $69.98    Hotwire
10/31/2017   Mediation travel                                         $105.97    Priceline
10/31/2017   Mediation transportation                                  $22.54    Chevron
10/31/2017   FedEx                                                     $53.53    FEDEX
11/01/2017   Mediation transportation                                  $37.30    Uber
11/01/2017   Meals - mediation travel                                  $56.68    Grill Concepts
11/01/2017   Meals - mediation travel                                  $26.73    Grill Concepts
11/02/2017   Printing Briefs                                            $5.44    Washington State Supreme Court
11/02/2017   Mediation travel                                           $7.00    Best Western
11/02/2017   K. Kalin mediation travel expenses                      $1,022.73   Stutheit Kalin LLC
11/20/2017   K. Masters travel for Supreme Court argument             $230.20    Masters Law Group PLLC
11/21/2017   LexisNexis Charges                                       $148.26    Masters Law Group PLLC
02/12/2018   Mediation fee                                           $1,100.00   Phillips ADR Enterprises, Inc.
02/14/2018   2018/02/14, Legal Research-Docketbird Pacer Fees         $52.25     Docketbird Pacer Fees
02/20/2018   2018/02/20, Legal Research-Docketbird Pacer Fees         $20.35     Docketbird Pacer Fees
02/21/2018   2018/02/21, Legal Research-Docketbird Pacer Fees         $20.46     Docketbird Pacer Fees
02/22/2018   2018/02/22, Legal Research-Docketbird Pacer Fees         $18.27     Docketbird Pacer Fees
03/01/2018   2018/03/01, Legal Research-Docketbird Pacer Fees         $18.07     Docketbird Pacer Fees
03/04/2018   2018/03/04, Legal Research-Docketbird Pacer Fees         $18.27     Docketbird Pacer Fees
03/04/2018   2018/03/04, Legal Research-Docketbird Pacer Fees         $22.33     Docketbird Pacer Fees
03/08/2018   2018/03/08, Legal Research-Docketbird Pacer Fees         $18.27     Docketbird Pacer Fees
03/13/2018   2018/03/13, Legal Research-Docketbird Pacer Fees         $18.07     Docketbird Pacer Fees
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03/15/2018   Mediation Fees                          $850.00     Phillips ADR Enterprises, Inc.
03/31/2018   WestLaw                                  $12.97     Westlaw
03/31/2018   WestLaw                                   $5.67     Westlaw
3/13/2019    Mediation Fee                           $850.00     Phillips ADR Enterprises, Inc.
                                             TOTAL $ 20,764.06
